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IN THE UNITED STATES DISTRICT C)URT ll l 6 mm
FOR THE NORTHERN DISTRICT OF EXAS
FORT WORTH DIVISION

 

 

 

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UNITED sTATEs oF AMERICA

V_ Criminal No. I?/.,/Y ~ m .`7`. é¢°?q>

BOBBY CAMPBELL (01)
SONIA CANTU (()2)

CRIMINAL COMPLAINT

 

Conspiracy to Possess with Intent to Distribute a Controlled Substance
(Violation of21 U.S.C. § 846)

Beginning in or before August 2017, and continuing thereafter until in or around
July 2018, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendants Bobby Campbell and Sonia Cantu, along with others, did knowingly and
intentionally combine, conspire, confederate, and agree to engage in conduct in violation
of21 U.S.C. § 84l(a)(l) and (b)(l)(B), namely to possess with intent to distribute 50
grams or more of a mixture and Substance containing a detectable amount of
methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. § 846
(21 U.S.C. § 84l(a)(l) and (b)(l)(B)).

I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

Introduction

l. l am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF).

2. l have participated in and am familiar with this investigation through interviews,
surveillance, and police reports.

3. This affidavit is submitted in support of an application for a criminal complaint.

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Facts

4. On July ll, 2018, an agent with the Texas Department of Public Safety Criminal
Investigation Division (DPS) observed a black, Saturn, sport-utility vehicle commit a
traffic violation in Fort Worth, Texas. The DPS Agent communicated the traffic violation
to a DPS Trooper in a marked patrol unit. The Trooper conducted a traffic stop on the
vehicle for the violation. The vehicle was bearing a false/ fictitious license plate. The
Trooper made contact with the driver, identified as Bobby Campbell. Campbell was the
sole occupant. The Trooper observed that Campbell was extremely nervous and shaky.
The Trooper asked for consent to search the vehicle. Campbell consented. A search of the
vehicle resulted in the seizure of cash in Campbell’s wallet, a large bundle of cash in the
trunk, a black handgun, and bags containing methamphetamine weighting approximately
217 grams. The Trooper also recovered bags containing marijuana, pills, and drug
paraphernalia

5. During a post-Miranda interview, Campbell admitted to regularly obtaining large
quantities of methamphetamine and redistributing the methamphetamine to several
individuals in the Fort Worth area. Further, Campbell admitted to supplying Sonia Cantu
with large quantities of methamphetamine

6. On July ll, 2018, DPS Agents conducted surveillance of a Comfort lnn in Fort
Worth. DPS Agents had prior knowledge that Campbell and Cantu occupied the room as
a residence. Agents also had prior knowledge that Cantu had an active State arrest
warrant. Agents observed Cantu exit the hotel and leave in a silver, Chrysler 200 with a

dealer plate.

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A Fort Worth Police Department (FWPD) officer in a marked patrol unit conducted a
traffic stop of the above vehicle and identified the driver as Star Cantu, Sonia Cantu’s
daughter, and passenger Sonia Cantu. FWPD officers smelled the odor of marijuana
emitting from the vehicle. FWPD conducted a probable-cause search of the vehicle and
placed Sonia Cantu into custody for the outstanding State arrest warrant.

7. DPS Agents obtained consent to search Cantu’s room at the Comfort lnn hotel.
During the search of the room, Agents located a safe. Campbell admitted the safe
contained drugs and firearms. Campbell provided the combination and attempted to open
the safe. However, Campbell stated he normally utilizes a key to access the safe. Due to
the complexity of the safe, Cantu, who regularly uses the combination to unlock the safe,
unlocked the safe for the Agents. The safe contained marijuana, Xanax bars, four
firearms and ammunition Agents also located drug paraphernalia, including
methamphetamine pipes, scales, and baggies in other areas of the room. Campbell stated
he purchased and/or traded the firearms for illegal narcotics from several different
individuals

8. During a post-Miranda interview, Cantu admitted to obtaining large amounts of
methamphetamine from Campbell and redistributing the methamphetamine to several
individuals in the Fort Worth area. Cantu stated, from approximately December 2017 to
July 2018, she distributed at least three ounces (84 grams) of methamphetamine per

week.

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Based on the foregoing, l believe that Bobby Campbell and Sonia Cantu have

violated 21 U.s.c. § 846 (21 U.s.C. § 841(3)(1)and(b)(1)(13)).

 
 

Special Agent
Bureau of Alcohol, Tobacco, Firearms
and Explosives

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SWORN AND SUBSCRIBED before me, at Z§D Q/pm, this ila day of July,

2018, in Fort Worth, Texas.

 

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